          Case 22-33553 Document 642 Filed in TXSB on 03/25/24 Page 1 of 4




                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION


                                                                    )
 In re:                                                             )   Chapter 11 (Subchapter V)
                                                                    )
 FREE SPEECH SYSTEMS, LLC,                                          )   Case No. 22-60043 (CML)
                                                                    )
                               Debtor.                              )
                                                                    )
                                                                    )
 In re:                                                             )   Chapter 11
                                                                    )
 ALEXANDER E. JONES,                                                )   Case No. 22-33553 (CML)
                                                                    )
                               Debtor.                              )
                                                                    )

              THE OFFICIAL COMMITTEE OF UNSECURED
 CREDITORS’ PRELIMINARY WITNESS LIST FOR CONFIRMATION HEARINGS
                   SCHEDULED FOR MAY 21–22, 2024

          The Official Committee of Unsecured Creditors of Alexander E. Jones (the “Committee”)

appointed in the chapter 11 case of Alexander E. Jones, Case No. 22-33553 (CML), submits this

Preliminary Witness List for the confirmation hearings scheduled for May 21–22, 2024 (the

“Confirmation Hearings”), pursuant to the Second Amended Agreed Scheduling Order for

Confirmation Hearing.1

                                                 WITNESS LIST

          The Committee may call the following witnesses at the Confirmation Hearings:

                     1.      Any witness listed or called by any other party.




          1
              In re Alexander E. Jones, No. 22-33553 (Bankr. S.D. Tex. Mar. 5, 2024), [ECF No. 624].
        Case 22-33553 Document 642 Filed in TXSB on 03/25/24 Page 2 of 4




                                 RESERVATION OF RIGHTS

       The Committee reserves all rights, including, but not limited to, the right to amend, revise,

or supplement this Preliminary Witness List at any time, to designate additional witnesses, to call

any person identified as a witness by any other party in interest, and to offer additional witnesses

at the Confirmation Hearings for purposes of impeachment, rebuttal, in response to witnesses and

evidence offered by any other party, and for any other permissible purpose under the Federal Rules

of Bankruptcy Procedure and the Federal Rules of Evidence.

                      [The remainder of this page intentionally left blank.]




                                                 2
      Case 22-33553 Document 642 Filed in TXSB on 03/25/24 Page 3 of 4




Dated: March 25, 2024
                                   By: /s/ Marty L. Brimmage, Jr.
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                                  -and-

                                  David M. Zensky (admitted pro hac vice)
                                  Sara L. Brauner (admitted pro hac vice)
                                  Katherine Porter (admitted pro hac vice)
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                                   Counsel to the Official Committee of Unsecured
                                   Creditors of Alexander E. Jones




                                     3
       Case 22-33553 Document 642 Filed in TXSB on 03/25/24 Page 4 of 4




                               CERTIFICATE OF SERVICE

        I certify that on March 25, 2024, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                           /s/ Marty L. Brimmage, Jr.
                                                           Marty L. Brimmage, Jr.




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